     Case 2:16-cr-00046-GMN-NJK           Document 903         Filed 10/20/16     Page 1 of 1




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 4                                  UNITED STATES DISTRICT COURT
 5                                         DISTRICT OF NEVADA
 6                                                    ***
 7      UNITED STATES OF AMERICA,                               Case No. 2:16-cr-00046-GMN-PAL
 8                                            Plaintiff,                     ORDER
                v.
 9                                                             (Mot Dental Treatment – ECF No. 826)
        GREGORY P. BURLESON
10
                                            Defendant.
11

12             Before the court is Defendant Gregory P. Burleson’s Motion for Dental Care (ECF No.
13     826).   The undersigned requested that the USMS investigate and report on the status of Mr.
14     Burleson’s dental condition and request for treatment. On October 18, 2016 the USMS reported
15     that Burleson was examined by a dentist on October 17, 2016. The dentist reports he had some
16     loose teeth, but refused to have them pulled. Burleson also reported that he is not in pain and will
17     notify the dentist if that changes. A soft diet is available if an inmate has issues with eating.
18     Burleson was previously on a soft diet but opted to go back to a regular diet.
19             Having reviewed and considered the motion and the report of the USMS,
20             IT IS ORDERED that Defendant Gregory P. Burleson’s Motion for Dental Treatment
21     (ECF No. 826) is DENIED as moot.
22             DATED this 19th day of October, 2016.
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                                                               PEGGY A. LEEN
25                                                             UNITED STATES MAGISTRATE JUDGE
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